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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                            Case No. 24-CR-61 (RBW)

                 v.

 MATTHEW NORMAN BALLEK,

                  Defendant.


   UNOPPOSED MOTION FOR AN ORDER PERMITTING THE DISCLOSURE OF
    ITEMS PROTECTED BY FEDERAL RULE OF CRIMINAL PROCEDURE 6(e)

       The United States of America, by and through its undersigned counsel, respectfully moves

this Court for entry of an order permitting the disclosure in discovery of materials protected by

Federal Rule of Criminal Procedure 6(e). The defense does not oppose this Motion.

       WHEREFORE, the United States respectfully requests an order authorizing the disclosure

in discovery of the materials described above.


                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 481052

Dated: February 14, 2024             By:     /s/ Paul V. Courtney
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